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                 IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION



V   .                                          CASE NO. CR415-204-3

TIMECKA GREEN,

        Defendant.


                                  ORDER

        Before the Court is the Government's Motion in Limine (Doc.

88) and Defendant's Motion in Limine (Doc. 93). For the

following reasons, the Government's motion (Doc. 88)             is GRANTED

IN PART     and DENIED IN PART.       Defendant's motion (Doc. 93) is

GRANTED IN PART and DENIED IN PART.

                                  BACKGROUND

        The Government filed a notice of intent to use post-arrest

phone calls on April 5, 2016. (Doc. 55.) On April 14, 2016,

Defendant filed a motion requesting that the Government identify

which phone calls it intended to introduce and that the

Government be required to play the phone calls in their entirety

pursuant to Federal Rule of Evidence 106. (Doc. 69.) On May 11,

2016, the Court entered an order requiring the Government to

disclose the phone calls it intended to play at trial.

(Doc. 83.) However, the Court deferred ruling on whether the

phone calls would have to be played in their entirety pursuant
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to Rule 106. (Id.) The Court allowed Defendant the opportunity

to refile a motion in limine no later than May 19, 2016, with

any objections to the Government's proffered phone calls. (Id.)

On May 16, 2016, the Government notified the Court that it would

seek to introduce two phone calls at trial. (Doc. 95 at 1.) The

Government notified the Court that it intended to introduce one

phone call ("Phone Call #1") in its entirety and only the last

six minutes of the second phone call ("Phone Call #2") . (Id. at

2-5.) In her motion in limine, Defendant argues that the

Government should be required to offer both calls in their

entirety along with ten other phone calls Defendant made from

jail between November 1, 2015 and November 2, 2015. (Doc. 93.)

The Government, for its part, requests that the Court instruct

Defendant that she may not introduce her own self-serving

hearsay statements through others unless she is available for

cross-examination. (Doc. 88.)

                                ANALYSIS

I.   DEFENDANT'S SELF-SERVING EXCULPATORY STATEMENTS

     As an initial matter, Defendant may not introduce her own

exculpatory statements unless Defendant is available for cross-

examination.   "[A] defendant cannot attempt to introduce an

exculpatory statement made at the time of [her] arrest without

subjecting [herself] to cross-examination." United States v.

Cunningham, 194 F.3d 1186, 1999 (11th Cir. 1999) (citing United

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States v. Willis, 759 F.2d 1486 (11th Cir. 1985)) . A defendant

also may not seek to introduce her own exculpatory statements

through another witness. United States v. Vernon, 593 F. App'x

883, 890 (11th Cir. 2014) ("A defendant may not introduce [her]

own exculpatory statement through another witness without

subjecting [herself] to cross-examination") (citations omitted)

Accordingly, Defendant's counsel may not examine or cross-

examine witnesses about Defendant's exculpatory statements or

reference such statements in opening arguments unless Defendant

is available for cross-examination.

II. RULE 106 EVIDENCE

     Rule 106 states that "'[i]f a party introduces all or part

of a writing or recorded statement, an adverse party may require

the introduction, at that time, of any other part—or any other

writing or recorded statement—that in fairness ought to be

considered at the same time." Fed. R. Evid. 106. The rule

"permits introduction only of additional material that is

relevant and is necessary to qualify, explain, or place into

context the portion already introduced." United States v. Simms,

385 F.3d 1347, 1359 (11th Cir. 2004) (quoting United States v.

Pendas-Martinez, 845 F.2d 938, 944 (11th Cir. 1988)). In this

circuit, exculpatory statements made by a defendant may be

admitted pursuant to Rule 106 if "relevant to an issue in the

case and necessary to clarify or explain the portion received."

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United States v. Pacquette, 557 F. App'x 933, 937 (11th Cir.

2014) (citing United States v. Range, 94 F.3d 614, 621 (11th

Cir. 1996))

     Defendant argues that Rule 106 requires the admission of

the entirety of Phone Call #2 as well as the admission of ten

other phone calls. The Court has reviewed Phone Call #2—the only

call the Government currently offers for admission that it does

not intend to play in full. The un-offered portion of the call

does provide context for Defendant's later statements,

particularly about her relationship with her children.

Accordingly, if the Government chooses to offer Phone Call #2,

it should be played in its entirety.

     However, Rule 106 does not require the Government to

introduce the additional ten phone calls Defendant offers.

Defendant argues that the playing of all twelve phone calls will

indicate a "consciousness of innocence" and that it would be

unfair if all twelve tapes are not played. (Doc. 93 at 4.)

Nevertheless, Rule 106 does not mandate that the Government play

the additional phone calls merely because they indicate a

"consciousness of innocence." Rule 106 only requires the

introduction of material that is relevant and necessary to

explain or place into context the portion already introduced.

While some of the statements Defendant made on those additional

calls may be relevant to Defendant's guilt, they are not

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necessary to explain or place in context the portions of the

phone calls the Government intends to play. See United States v.

Eady, 591 F. App'x 711, 716 (11th Cir. 2014) (holding that rule

106 "permits introduction only of additional material that is

relevant and is necessary to qualify, explain, or place into

context the portion already introduced") . Here, any concern over

context, qualification, or explanation is lessened by the fact

that the Government must play Phone Call #2 in full.

     Moreover, according to the information provided by

Defendant, the additional phone calls she is seeking to

introduce were made to at least five different phone numbers.

(Doc. 93 at 7.) Six of the phone calls were made to individuals

who do not appear in the two calls the Government offers for

admission. See United States v. Johnson, 579 F. App'x 867, 870

(11th Cir. 2014) (affirming exclusion of portion of three-way

call where third person's credibility was at issue and two other

individuals spoke alone). While the Court is unaware of the

specific time between each phone call, they were made over the

course of two days. (Doc. 93 at 7.) Consequently, the phone

calls involve multiple conversations with several individuals.

They do not reflect a single, ongoing conversation in need of

clarification or explanation. Accordingly, the Court holds that

the additional phone calls Defendant offers are not required to



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"qualify, explain, or place into context the portion already

introduced." Simms, 385 F.3d at 1359.

                              CONCLUSION

     For the foregoing reasons, the Government's motion (Doc.

88) is GRANTED IN PART and DENIED IN PART and Defendant's motion

is GRANTED IN PART    and DENIED IN PART      (Doc. 93). 1 Pursuant to

Rule 106, the Government must play both calls it seeks to

introduce in their entirety. However, the Government is not

required by Rule 106 to play the remaining ten calls Defendant

offers. Moreover, Defendant's counsel may not examine or cross-

examine witnesses about Defendant's exculpatory statements or

reference such statements in opening argument unless Defendant

is available for cross-examination. 2

              SO ORDERED this           day of May 2016.




                                 WILLIAM T. MOORE, JRfr'
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA




1
  The Government agrees that Defendant's statements in Phone Call
#2 may be admitted pursuant to Rule 106 even if exculpatory.
 (Doc. 95 at 5.) This Court has concluded that Rule 106 requires
the admission of the entire phone call. Accordingly, the
Government's motion is DENIED only for any statements made in
Phone Call #2.
2
   Defendant's request for an evidentiary hearing is accordingly
DISMISSED AS MOOT.
